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                             UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 Oscar Sanchez, Marcus White, Tesmond                 Civil Action No. xx-cv---
 McDonald, Marcelo Perez, Roger Morrison,
 Keith Baker, Paul Wright, Terry McNickels,           Petition for Writ of Habeas Corpus and
 and Jose Munoz; on their own and on behalf           Class Action Complaint for Injunctive and
 of a class of similarly situated persons;            Declaratory Relief

                        Petitioners/Plaintiffs,
           v.
                                                      IMMEDIATE RELIEF SOUGHT
 DALLAS COUNTY SHERIFF MARIAN
 BROWN, in her official capacity; DALLAS
 COUNTY, TEXAS;

                 Respondents/Defendants

                                        INTRODUCTION

          1.    You are likely reading this Petition for Writ of Habeas Corpus and Class Action

Complaint for Injunctive and Declaratory Relief (Complaint) from self-isolation in your home.

Now imagine if someone sick with COVID-19 came into that home and sealed the doors and

windows behind them. That is what Dallas County has just done to more than 5,000 human beings

currently detained in the North, South, and West Towers of the Lew Sterrett Justice Center, where

more than two dozen COVID-19 cases have been confirmed by Dallas County and where

social/physical distancing for all but a small fraction of detainees is impossible. After Oscar

Sanchez requested a test for the disease which he could not obtain in the Dallas County Jail, a staff

member acknowledged the predicament, saying to Mr. Sanchez: “I don’t know what these people

want you to do. Die first?” Sanchez Dec. ¶ 17. Tesmond McDonald, who has COVID-19, recently

had such dangerously-low oxygen levels that “he thought he was going to die,” and faces the

prospect of going into critical condition without immediate transport to a hospital. McDonald Dec.

¶ ¶4–6.

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         2.       No one detained can protect themselves by leaving. Further, employees and

contractors who work in the Dallas County Jail are themselves at risk of contracting COVID-19

and spreading it to loved ones and the larger community outside. And the health care system in

Dallas County will be taxed beyond capacity by an outbreak originating in the Dallas County Jail

unless immediate steps are taken to get it under control.

         3.       We are in the midst of the most significant global pandemic in generations.1

COVID-19 is a highly contagious and deadly respiratory disease caused by a novel coronavirus

(SARS-CoV-2). No one is safe. The lethality rate of COVID-19 is estimated to be between one

and six percent: several times more than the common flu that kills thousands a year. 2 All age

groups including some children have contracted the disease, 3 and the World Health Organization

estimates that one in five people who contract the disease require hospitalization. 4 On March 13,

2020, the President declared a national state of emergency. 5 As of April 7, 2020, confirmed cases

of COVID-19 in the United States were more than double the number in any other country. 6 On

the same day, Illinois, Louisiana, New Jersey, New York reported their highest daily death tolls




      1
        John M. Barry, The Single Most Important Lesson from the 1918 Influenza, New York Times (March 17, 2020),
https://cutt.ly/PtQ5uAZ (Opinion piece by author of “The Great Influenza: The Story of the Deadliest Pandemic in
History,” noting comparison between current COVID-19 outbreak and the 1918 influenza outbreak widely considered
one of the worst pandemics in history).
      2
        As of April 7, 2020, there were 1,428,428 confirmed cases globally, with 82,020 deaths and 300,198 recoveries.
Johns Hopkins University of Medicine, Coronavirus COVID-19 Global Cases by the Center for Systems Science and
Engineering at Johns Hopkins University, https://cutt.ly/StEyn2U; see also “Coronavirus disease 2019 (COVID-19)”,
UpToDate, https://cutt.ly/GtJYSkj (as of April 4, 2020, estimated overall fatality rate of 2.3 percent globally).
      3
        Robert Verity, PhD., et al., Estimates of the Severity of Coronavirus Disease 2019: A Model-Based Analysis,
Lancet Infec Dis (March 30, 2020), 6.
      4
         World Health Organization, Q&A on Coronaviruses (COVID-19), “Should I Worry About COVID-19?,”
https://cutt.ly/YtEyrxl.
      5
        Proclamation on Declaring a National Emergency Concerning the Novel Coronavirus Disease (COVID-19)
Outbreak, (March 13, 2020), https://cutt.ly/EtJLZQZ.
      6
        Jennifer Calfas, Chong Koh Ping, and Drew Hinshaw, Global Coronavirus Death Toll Passes 81,000 as Some
Lockdowns Tighten, The Wall Street Journal (Apr. 7, 2020), https://cutt.ly/ztJLM0q.


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from COVID-19. 7 As of April 7, 2020, the Texas Health and Human Services reported 8,262

COVID-19 cases and 154 deaths from the disease state-wide, 8 and Dallas County Health and

Human Services reported 1,261 COVID-19 cases with 19 deaths. 9 The Dallas County Jail

accounted for 23—almost two percent—of the COVID-19 cases in Dallas County. 10 On April 5,

2020, approximately 25 percent of all new confirmed COVID-19 cases in Dallas County were in

the Dallas County Jail. 11

         4.       There is no vaccine or cure for COVID-19. The best course according to public

health experts is to slow and prevent transmission, primarily through a practice known as “social

distancing.” 12 Social distancing requires everyone to stay at least six feet away from all other

people to control the spread of the virus. This measure is particularly important because the virus

spreads aggressively, and people can infect others even if they do not feel sick or exhibit any

symptoms.13 The only effective way to curb the pandemic is through dramatically reducing contact

for all. 14 Consequently, every American institution—from schools 15 to places of worship, 16 from



     7
         Johns Hopkins University, Coronavirus Resource Center, available at https://coronavirus.jhu.edu/map.html;
see also Brittany Shammas, et al., Trump says Quarantine for New York Area “Will not be Necessary;” U.S.
Coronavirus-related Deaths Double in Two Days, Wash. Post (March 28, 2020, 11:27 p.m.), https://cutt.ly/ktRo8u0.
      8
        Texas Health and Human Services, Texas Case Counts COVID-19, (Apr. 7, 2020), https://cutt.ly/rtJL7NJ.
      9
         Dallas County Health and Human Services, 2019 Novel Coronavirus (COVID-19) Summary at 1, (Apr. 7,
2020), https://cutt.ly/ztJZwXa.
      10
          Id. Table 4.
      11
          COVID-19 Live Updates, KERA News (quoting Director of Dallas County Health and Human Services on
April 5, 2020 as saying “the jail has 24 cases, which includes 22 inmates and two detention officers,” presenting
approximately 25% of all new cases in Dallas County that day), https://cutt.ly/itJSsiy.
      12
          World Health Organization, Coronavirus, https://cutt.ly/ztWyf7e (“At this time, there are no specific vaccines
or treatments for COVID-19.”).”); Dawson v. Asher, 20-cv-409 (W.D. Wash.) at Doc. No. 4, Declaration of Dr. Robert
B. Greifinger, MD, ¶ 8 (“Social distancing and hand hygiene are the only known ways to prevent the rapid spread of
COVID-19.”).
      13
          Center for Disease Control, How Coronavirus Spreads, https://cutt.ly/CtYRkkC.
      14
          Harry Stevens, Why Outbreaks Like Coronavirus Spread Exponentially, and how to “Flatten the Curve,”
Wash. Post. (March 14, 2020), https://cutt.ly/etYRnkz.
      15
           Centers for Disease Control, Interim Guidance for Administrators of US K-12 Schools and Child Care
Programs, https://cutt.ly/ItRPq5n.
      16
         Centers for Disease Control, Interim Guidance for Administrators and Leaders of Community-and Faith-Based
Organizations to Plan, Prepare, and Respond to Coronavirus Disease 2019 (COVID-19), https://cutt.ly/KtRPk1k.


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businesses 17 to legislatures 18—has been exhorted to reduce the number of people in close quarters,

if not empty entirely. They have also been told to undertake aggressive sanitation measures, such

as cleaning and disinfecting all surfaces for exacting periods of time with products with particular

alcohol contents, and closing off any areas used by a sick person. 19 These imperatives apply with

special force to jails, where the government controls almost entirely a person’s ability to avoid

others and to maintain adequate sanitation.

          5.     Yet jails have proven incapable of implementing many of these recommendations,

and incarcerated people are exposed to this highly contagious and deadly virus as a result. For

example, at the peak of the outbreak in Wuhan, China—the province where COVID-19

originated—over half of all reported COVID-19 cases were incarcerated people. On Rikers Island,

the rate of infection among incarcerated people is over seven times the rate of infection in New

York City generally, and 25 times higher than the rate in Wuhan, China. 20

          6.     Despite the ubiquity of this guidance, the Texas Governor’s order requiring people

to “minimize in-person contact with people who are not in the same household”, 21 the stay at home

order issued by the County Judge of Dallas County, 22 and City of Dallas regulations implementing




     17
         Centers for Disease Control, Interim Guidance for Businesses and Employers to Plan and Respond to
Coronavirus Disease 2019 (COVID-19), https://cutt.ly/stRPvg4.
      18
         Nat’l Conf. of State Legislatures, Coronavirus and State Legislatures in the News, https://cutt.ly/4tRPQne.a
      19
         Centers for Disease Control, Cleaning and Disinfecting Your Facility, https://cutt.ly/atYE7F9.
      20
         These numbers likely underestimate the infection rate on Rikers Island, as they do not include the number of
people contracted COVID-19 on Rikers Island but who have already been released. The rates of infection rely on
publicly released data collected by the Legal Aid Society. See LEGAL AID SOCIETY, Analysis of COVID-19
Infection Rate in NYC Jails (last visited March 30, 2020, 11:00 AM), https://cutt.ly/RtYTbWd.
      21
         Office of the Tex. Gov., Press Release: Governor Abbott Issues Executive Order Implementing Essential
Services and Activities Protocols (March 31, 2020), https://cutt.ly/stJUKfc.
      22
         See Amended “Safer at Home” Order, (Apr. 6, 2020), https://cutt.ly/otJIl2m.


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the Texas and Dallas County orders, 23 the Dallas County Jail has failed to provide these critical

safeguards. Known conditions in the Dallas County Jail include:

                  •         a jump in a week’s time from five reported COVID-19 infections of
                            detainees and Jail employees to almost 30 as of April 7, 2020, 24

                  •         a lack of COVID-19 testing for detainees at intake, during detention, or
                            upon release,

                  •         failure to begin “checking the temperatures of employees assigned to the
                            jail” or asking detainees during the intake process “a set of preliminary
                            questions recommended by Dallas County’s healthcare partners” until
                            March 27, 2020, 25

                  •         a shortage of Jail employees to report for work;

                  •         routine use by Jail employees of single-use disposable surgical masks for a
                            week or more;

                  •         failure to educate detainees about the virus and prevention methods;

                  •         failure to institute appropriate social distancing practices, including in dorm
                            bunk arrangements, waiting lines, staff gatherings, and meals;

                  •         failure to segregate detainees with symptoms and illness from other
                            detainees and guards;

                  •         failure to provide staff with adequate personal protective equipment and to
                            require the use and regular replacement of such equipment;

                  •         failure to provide detainees with adequate PPE;

                  •         failure to ensure sufficient stocks of hygiene and cleaning supplies and to
                            provide detainees with no-cost access to these supplies.



     23
         See Shelter in Place: Stay Home Stay Safe, City of Dallas, https://cutt.ly/TtJIvcg.
     24
         Dallas County Health and Human Services, 2019 Novel Coronavirus (COVID-19) Table 4, (Apr. 7, 2020),
https://cutt.ly/QtJZbmS; Editorial, COVID-19 spreads with close contact, so what do we do about those in jail?, The
Dallas Morning News (Apr. 5, 2020), https://cutt.ly/8tJOi67 (“At the time of this writing, 20 inmates had tested
positive for the virus, along with six detention officers and one deputy.”); Ashley Paredez, Confirmed COVID-19
cases at Dallas County Jail now up to 28, Fox 4 (April 4, 2020), https://cutt.ly/0tJSenr (“The number of coronavirus
cases at the Dallas County jail has increased from five cases last week, to now a total of 28,” and “six [of those testing
positive] are detention officers and two are clerks”); COVID-19 Live Updates, KERA News, supra note 11 (quoting
Director of Dallas County Health and Human Services on April 5, 2020 as saying “the jail has 24 cases, which includes
22 inmates and two detention officers”).
      25
         Dallas County Sheriff’s Office, “COVID-19 Initiatives,” (March 27, 2020), https://cutt.ly/NtJO7zY.

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          7.     Jails are not hermetically sealed. By their nature, the people who enter jails—from

correctional and medical staff, to those detained prior to trial, to those serving short sentences—

typically come out in very short order. The failure of Dallas County Jail to prevent and mitigate

the spread of COVID-19 endangers not only those within the institution, but the entire community.

Hence, swift release of the most vulnerable to the disease and implementation of public health and

education protocols in the jail, are is the only mitigation efforts that the Dallas County Jail can

undertake to comport with public health guidance and to prevent a catastrophic outbreak at the

facility.

          8.     Absent intervention from this Court to align the operation of the Dallas County Jail

with public health principles—first and foremost, the release of as many incarcerated persons as

possible, but also improved sanitation, testing, and treatment protocols for all others—devastating,

and in many cases deadly, irreparable harm will befall incarcerated persons, jail staff, and the

community. 26 The outbreaks in detention facilities around the country, many with more resources,

space, and sophisticated health delivery systems than the Dallas County Jail, 27 prove the need for

immediate and significant reductions in population. Case-by-case review is no match for

exponential spread of the disease. Courts and executive branch officials elsewhere in the country

have accepted this reality and begun broad-based, categorical releases from jails and prisons. 28




     26
         Noam N. Levey, Jenny Jarvie, Coronavirus Will Hit Health System Hard and Not All States are Prepared,
L.A. Times (March 12, 2020 4:00 a.m.), https://cutt.ly/mtYTI3U; Joanne Kenen, Local Officials Alarmed by Dearth
of Ventilators, Hospital Beds, (March 14, 2020 7:00 a.m.), https://cutt.ly/stYTDDk.
      27
         Sam Kelly, 134 inmates at Cook County Jail confirmed positive for COVID-19, CHICAGO SUN-TIMES (Mar.
30, 2020). https://cutt.ly/6tYTqi5.
      28
         See, e.g., Memorandum and Order, Thakker v. Doll, No. 20-CV-0480 (M.D. Pa. Mar. 31, 2020) (categorically
releasing petitioners who “suffer[] from chronic medical conditions and face[] an imminent risk of death or serious
injury if exposed to COVID-19); Emmanuel Felton, A Judge Ordered The Release Of Low-Level Prisoners Because
Of The Coronavirus. People Were Absolutely Furious., Buzzfeed News (Mar. 27, 2020), https://cutt.ly/mtYTyxd.

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       9.      Accordingly, Petitioners/Plaintiffs (hereinafter “Plaintiffs”)—classes of persons

incarcerated at the Dallas County Jail—bring this action and request immediate release of all

Plaintiffs and Class Members, coupled with appropriate support and conditions upon release, as

informed by public health expertise. If this Court does not grant immediate release on the basis of

this Petition, Plaintiffs request a hearing as soon as possible. Given the exponential spread of

COVID-19, there is no time to spare.

                            I.       JURISDICTION AND VENUE

       10.     Plaintiffs bring this putative class action pursuant to 28 U.S.C. § 2241 and 42

U.S.C. § 1983 for relief from detention that violate their Eighth and Fourteenth Amendment rights

under the U.S. Constitution.

       11.     This Court has subject matter jurisdiction over these claims pursuant to 28 U.S.C.

§ 2241 (habeas corpus), 28 U.S.C. § 1651 (All Writs Act), and Article I, § 9, cl. 2 of the U.S.

Constitution (Suspension Clause) / 28 U.S.C. § 1331 (federal question jurisdiction).

       12.     Venue is proper in this judicial district and division pursuant to 28 U.S.C. § 2241(d)

because the Plaintiffs and all other class members are in custody in this judicial district and venue.

Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because a substantial part of the events or

omissions giving rise to Plaintiffs’ claims occurred in this district.

                                       II.       PARTIES

       13.     Plaintiff Oscar Sanchez is detained in the Dallas County Lew Sterrett Jail West

Tower. He is a 28-year-old man. He has a history of severe chronic asthma, and has begun to show

symptoms that are consistent with COVID-19, and therefore may require immediate medical

attention. He has been incarcerated since March 10, 2020 and is being held pretrial on multiple

charges, some of which are indicted, some of which are not. His cases are not currently set for



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trial. His next court date is April 28, 2020 for an announcement setting. He is presumptively

innocent of all charges.

       14.     Plaintiff Marcus White is a 37-year-old man who booked into the Dallas County

Jail on November 27, 2019 and is held on $111,000 bond for multiple charges, mostly drug-related.

He suffers from hypertension, for which he takes medication in the jail, as well as a serious seizure

disorder for which he has not received his medication in the jail. Mr. White contracted and tested

positive for COVID-19 in the jail and is being held on the 9th floor of the Dallas County Lew

Sterrett West Tower Jail. He is presumptively innocent of all charges.

       15.     Plaintiff Tesmond McDonald is a 32-year-old man with asthma and high blood

pressure who is being held (since September 27, 2019) in the Dallas County Jail, currently in the

Lew Sterrett West Tower Jail 9th floor. He is being held pretrial for three Dallas County charges

of aggravated robbery, possession with intent to deliver drugs, and evading arrest. Mr. McDonald

contracted COVID-19 inside the jail, and learned on April 3 that he tested positive for the virus.

His condition is very serious and he may require immediate medical attention. He is

presumptively innocent of all charges.

       16.     Plaintiff Marcelo Perez is a 43-year-old man who has been held in the Dallas

County Jail since January 7, 2020 on an allegation that he violated probation by committing a new

drug offense. Mr. Perez is medically vulnerable in that he has hypertension and diabetes. He has

been denied the ability to maintain social distancing, proper hygiene, and he is exposed

continuously to people who show symptoms consistent with COVID-19.

       17.     Plaintiff Roger Morrison is a 49-year-old man, medically vulnerable to COVID-19

because of his pre-existing conditions of high blood pressure, hepatitis C, and cirrhosis of the liver

among other issues. He was booked in on March 9, 2020 and is being held on drug possession and



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evading arrest charges in the Dallas County Jail South (Kays) Tower C3 medical pod. He has been

unable to protect himself within the jail from exposure to other inmates and guards who have

potentially been exposed to COVID-19. He has begun to exhibit flu-like symptoms.

       18.     Plaintiff Keith Baker is a 25-year-old man. He booked in on March 7, 2020 on an

unindicted allegation of aggravated assault, as well as some misdemeanor offenses. He is currently

detained in the Dallas County Lew Sterrett Jail West Tower, 9th floor. He has severe asthma and

is being held adjacent to three people who have tested positive for COVID-19. Mr. Baker has

developed symptoms consistent with COVID-19, but has not been tested for the virus. He is

presumptively innocent of all charges.

       19.     Plaintiff Paul Wright is a 48-year old man who is being held in the Dallas County

Jail South (Kays) Tower 3rd floor. He booked in on February 21,2020 and is being held awaiting

transport to the Texas Department of Criminal Justice to serve the remainder of a two-year

sentence for felony assault, a sentence for which he has backtime credit for 14 months. He has

hepatitis C and has been unable to protect himself within the jail from exposure to other inmates

and guards who have potentially been exposed to COVID-19.

       20.     Plaintiff Terry McNickles is a 58-year-old man being held in the Dallas County Jail

South (Kays) Tower on a parole violation. He was booked into the jail on March 16, 2020. He was

taken to a parole hearing, but the hearing was cancelled because of the pandemic, and he was not

told when he might have a chance to have a new hearing date. Mr. McNickles is medically

vulnerable because he had a kidney removed last year due to cancer. He has been unable to protect

himself within the jail from exposure to other inmates and guards who have potentially been

exposed to COVID-19.




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       21.     Plaintiff Jose Munoz is a 37-year-old man, detained in the Dallas County Jail South

(Suzanne Kays) Tower 3rd floor. He has been held since October 4, 2019. He is currently on

probation for drug possession but is awaiting transportation to a drug treatment facility in Wilmer,

Texas which was ordered as a condition of his probation. Because of the COVID-19 pandemic,

however, the facility is not taking new patients, so his wait in jail is indefinite. He has been unable

to protect himself from exposure to the COVID-19 virus through social distancing or protective

measures of any kind.

       22.     The Dallas County Sheriff, Marian Brown (“Sheriff Brown”), is a Dallas County

official, the head of the Dallas County Sheriff’s Department, and the administrator of the Dallas

County Jail. Sheriff Brown is the final policymaker for running and administering the jail in Dallas

County. Sheriff Brown is sued in her official capacity.

       23.     Dallas County, Texas (“Dallas County”) is a municipal corporation organized

under the laws of the State of Texas. Dallas County controls and operates the Jail, through Sheriff

Brown. Dallas County currently has immediate custody over Plaintiffs Sanchez, White,

McDonald, Perez, Morrison, Baker, Wright, McNickles, and Munoz and all other putative class

members. Among others, Sheriff Brown is a final policymaker for Dallas County.

                         III.        NOTICE OF RELATED CASE
       24.     Per Rule 3.3(b)(iii) of the Local Civil Rules of the U.S. District Court for the

Northern District of Texas, Plaintiff provide notice that this case arguably arises from a common

nucleus of operative fact with, and therefore may be a “related case” to, Daves v. Dallas County,

No. 3:18-cv-00154-N, pending before U.S. District Judge David Godbey.

                           IV.         FACTUAL ALLEGATIONS




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                 COVID-19 Poses a Significant Risk of Illness, Injury, or Death.
          25.    The novel coronavirus that causes COVID-19, has led to a global pandemic. 29 As

of April 8, 2020, there were more than 1.45 million reported COVID-19 cases throughout the

world and more than 12,900 deaths in the United States. 30 Projections indicate that as many as

240,000 people in the U.S. will die from COVID-19, accounting for existing interventions. 31

          26.    COVID-19 is known to spread from person to person through respiratory droplets,

close personal contact, and from contact with contaminated surfaces and objects. 32 There is no

vaccine against COVID-19, and there is no known medication to prevent or treat infection. 33 Social

distancing—deliberately keeping at least six feet of space between persons to avoid spreading

illness 34—and a vigilant hygiene regimen, including washing hands frequently and thoroughly

with soap and water, are the only known effective measures for protecting against transmission of

COVID-19. 35 Because the coronavirus spreads among people who do not show symptoms,

maintaining a six foot distance from others is the best way to prevent contraction. In other words,

everyone including officials at the Dallas County Jail has to act as is if everyone has the disease.




     29
         Betsy McKay et al., Coronavirus Declared Pandemic by World Health Organization, WALL ST. J. (Mar. 11,
2020, 11:59 PM), https://cutt.ly/UtEuSLC.
      30
         Johns Hopkins University COVID-19 Data Center, (Apr. 8, 2020), https://coronavirus.jhu.edu/.
      31
         Rick Noack, et al., White House Task Force Projects 100,000 to 240,000 Deaths in U.S., Even With Mitigation
Efforts, Wash. Post. (April 1, 2020, 12:02 a.m.), https://cutt.ly/5tYT7uo.
      32
         Centers for Disease Control and Prevention, Interim Infection Prevention and Control Recommendations for
Patience with Suspected or Confirmed Coronavirus Disease 2019 (COVID-19) in Healthcare Settings,
https://cutt.ly/ztRAo0X.
      33
         Supra note 12.
      34
         Johns Hopkins University, Coronavirus, Social Distancing and Self-Quarantine, https://cutt.ly/VtYYiDG.
      35
         Declaration of Dr. Robert L. Cohen, MD, In Support of Petitioners’ Motion for a Temporary Restraining Order
and Preliminary Injunction, ¶ 9.


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          27.     Once contracted, COVID-19 can cause severe damage to lung tissue, including a

permanent loss of respiratory capacity, and it can damage tissues in other vital organs, such as the

heart and liver. 36

          28.     People over the age of 50 face a greater risk of serious illness or death from COVID-

19. 37 In a February 29, 2020 preliminary report, individuals age 50-59 had an overall mortality

rate of 1.3 percent; 60-69-year-olds had an overall 3.6 percent mortality rate, and those 70-79 years

old had an 8 percent mortality rate. 38

          29.     People of any age who suffer from certain underlying medical conditions, including

lung disease, heart disease, chronic liver or kidney disease (including hepatitis and dialysis

patients), diabetes, epilepsy, hypertension, compromised immune systems (such as from cancer,

HIV, or autoimmune disease), blood disorders (including sickle cell disease), inherited metabolic

disorders, stroke, developmental delay, and asthma, also have an elevated risk. 39 Early reports

estimate that the mortality rate for those with cardiovascular disease was 13.2 percent, 9.2 percent

for diabetes, 8.4 percent for hypertension, 8.0 percent for chronic respiratory disease, and 7.6

percent for cancer. 40




     36
         Centers for Disease Control, Interim Clinical Guidance for Management of Patients with Confirmed
Coronavirus Disease (COVID-19), https://cutt.ly/etRPVRl
      37
         Xianxian Zhao, et al., Incidence, clinical characteristics and prognostic factor of patients with COVID-19: a
systematic review and meta-analysis (March 20, 2020), https://cutt.ly/etRAkmt.
      38
         Age, Sex, Existing Conditions of COVID-19 Cases and Deaths Chart, https://cutt.ly/ytEimUQ (data analysis
based on WHOChina Joint Mission Report).
      39
         Coronavirus disease (COVID-19) advice for the public: Myth busters, World Health Organization,
https://cutt.ly/dtEiCyc (“Older people, and people with pre-existing medical conditions (such as asthma, diabetes,
heart disease) appear to be more vulnerable to becoming severely ill with the virus.”).
      40
         Report of the WHO-China Joint Mission on Coronavirus Disease 2019 (COVID-19), World Health
Organization
      (Feb. 28, 2020), at 12, https://cutt.ly/xtEokCt (finding fatality rates for patients with COVID-19 and co-morbid
conditions to be: “13.2% for those with cardiovascular disease, 9.2% for diabetes, 8.4% for hypertension, 8.0% for
chronic respiratory disease, and 7.6% for cancer”).


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          30.    In many people, COVID-19 causes fever, cough, and shortness of breath. However,

for people over the age of fifty or with medical conditions that increase the risk of serious COVID-

19 infection, shortness of breath can be severe. 41 Most people in higher risk categories who

develop serious illness will need advanced support. This requires highly specialized equipment

like ventilators that are in limited supply, and an entire team of care providers, including 1:1 or 1:2

nurse to patient ratios, respiratory therapists, and intensive care physicians. 42 This level of care is

not available in the Dallas County Jail.

          31.    In serious cases, COVID-19 causes acute respiratory disease syndrome (ARDS),

which is life-threatening: those who receive ideal medical care with ARDS have a 30 percent

mortality rate. 43 Even in non-ARDS cases, COVID-19 can severely damage lung tissue, which

requires an extensive period of rehabilitation, and in some cases, cause permanent loss of breathing

capacity. 44 COVID-19 may also target the heart, causing a medical condition called myocarditis,

or inflammation of the heart muscle. Myocarditis can reduce the heart’s ability to pump. 45 This

reduction can lead to rapid or abnormal heart rhythms in the short term, and long-term heart failure

that limits exercise tolerance and the ability to work.

          32.    COVID-19 can also trigger an over-response of the immune system and result in

widespread damage to other organs, including permanent injury to the kidneys and neurologic

injury. 46




     41
        Zhao, supra note 36.
     42
        Dawson, 20-cv-409 (W.D. Wash.) at Doc. No. 5, Declaration of Dr. Jonathan Louis Golob ¶ 6.
     43
        Letter from Faculty at Johns Hopkins School of Medicine, School of Nursing, and Bloomberg School of Public
Health to Hon. Larry Hogan, Gov. of Maryland, March 25, 2020, https://cutt.ly/stERiXk.
     44
        Golob Dec., supra note 4235 at ¶ 7.
     45
        Id.
     46
        Id.


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         33.    These complications can manifest at an alarming pace. Patients can show the first

symptoms of infection in as little as two days after exposure, and their condition can seriously

deteriorate in as little as five days or sooner. 47

         34.    Even some younger and healthier people who contract COVID-19 may require

supportive care, which includes supplemental oxygen, positive pressure ventilation, and in extreme

cases, extracorporeal mechanical oxygenation. 48

         35.    The need for care, including intensive care, and the likelihood of death, is much

higher from COVID-19 infection than from influenza. 49 According to recent estimates, the fatality

rate of people infected with COVID-19 is about ten times higher than a severe seasonal influenza,

even in advanced countries with highly effective health care systems. 50 For people in the highest

risk populations, the fatality rate of COVID-19 infection is about 15 percent. 51

         36.    Patients who do not die from serious cases of COVID-19 may face prolonged

recovery periods, including extensive rehabilitation from neurologic damage, loss of digits, and

loss of respiratory capacity. 52

                Persons Incarcerated in the Dallas County Jail Face Grave and Immediate
                Danger Due to COVID-19.
         37.    Beyond the general public health presented by the COVID-19 pandemic, persons

incarcerated at the Dallas County Jail face a particularly acute threat of illness, permanent injury,

and death.




    47
         CDC, Interim Clinical Guidance, supra note 36.
    48
         Golob Dec., supra note 42 at ¶ 5.
      49
         Id. at ¶ 4.
      50
         Betsy McKay, Coronavirus vs. Flu Which Virus is Deadlier, WALL ST. J. (Mar. 10, 2020, 12:49 PM),
https://cutt.ly/itEmi8j.
      51
         Golob Dec., supra note 42 at ¶ 4.
      52
         Id.


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          38.   As of April 7, 2020, there are 8,262 confirmed COVID-19 cases in Texas, 53 with

1,261 of them in Dallas County. 54 To date, there have been 154 confirmed deaths from COVID-

19 in Texas, 55 with 19 in Dallas County. 56 While there are more than 20 documented COVID-19

detainee cases and six detention officers from the Dallas County Jail, the true number is much

likely higher given the limited and inadequate testing at the facility. See supra fn 24 (describing

known reports of confirmed cases); White Dec. ¶ 2 (Plaintiff White describing how he was denied

testing until more than 10 days after his presentation of symptoms, despite his close proximity to

other detainees).

          39.   State and local officials have recognized the emergency situation posed by COVID-

19 in Texas and Dallas County. On March 31, 2020, Texas Governor Greg Abbott issued an order

requiring people to “minimize in-person contact with people who are not in the same household”. 57

Nine days earlier, County Judge Clay Jenkins ordered people in Dallas County to stay at home. 58

The City of Dallas has promulgated regulations implementing the Texas and Dallas County

orders. 59

          40.   People in congregate environments, which are places where people live, eat, and

sleep in close proximity, face increased danger of contracting COVID-19, as already evidenced by




     53
         Texas Case Counts COVID-19, supra note 8.
     54
         Dallas County Health and Human Services, 2019 Novel Coronavirus (COVID-19) Summary at 1, (Apr. 7,
2020), https://cutt.ly/xtJXUH8.
      55
         Texas Case Counts COVID-19, supra note 8.
      56
         Dallas County Health and Human Services, 2019 Novel Coronavirus (COVID-19) Summary, supra note 54
at 1.
      57
         Tex. Gov. Abbott Executive Order Announcement, supra note 21.
      58
         “Safer at Home” Order, supra note 22.
      59
         See City of Dallas, Shelter in Place, supra note 23.


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the rapid spread of the virus in cruise ships 60 and nursing homes. 61 It is virtually impossible for

people who are confined in prisons, jails, and detention centers to engage in the necessary social

distancing and hygiene required to mitigate the risk of transmission. This is demonstrated by

dramatic outbreaks in the Cook County Jail 62 in Chicago and Rikers Island in New York City,

where the transmission rate for COVID-19 is estimated to be the highest in the world. 63 The CDC

also warns of “community spread” where the virus spreads easily and sustainably within a

community where the source of the infection is unknown. 64

          41.    Epidemiologists 65 caution that the spread of COVID-19 in a jail setting will be more

rapid and more catastrophic than in the general population, and further, will contribute to worse

outcomes for the broader population, as illustrated in the following graphs:




     60
         The CDC is currently recommending that travelers defer cruise ship travel worldwide. “Cruise ship passengers
are at increased risk of person-to-person spread of infectious diseases, including COVID-19.” COVID-19 and Cruise
Ship Travel, Centers for Disease Control and Prevention, https://cutt.ly/7tEEQvT.
      61
         The CDC notes that long-term care facilities and nursing homes pose a particular risk because of “their
congregate nature” and the residents served. Preparing for COVID-19: Long-term Care Facilities, Nursing Homes,
Centers for Disease Control and Prevention, https://cutt.ly/7tEEITH.
      62
         See supra note 27.
      63
         Supra note 20
      64
         How Coronavirus Spreads, Centers for Disease Control and Prevention, https://cutt.ly/jtEE9vG.
      65
         See Declaration of Eric Lofgren in Support of Petitioners’ Motion for a Temporary Restraining Order and
Preliminary Injunction.

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        42.      Correctional settings further increase the risk of contracting COVID-19 due to the

high numbers of people with chronic, often untreated, illnesses housed in a setting with minimal

levels of sanitation, limited access to personal hygiene, limited access to medical care, presence of

many high-contact surfaces, and no possibility of staying at a distance from others. 66

        43.      As the below chart illustrates, health conditions that make COVID-19 particularly

dangerous are more prevalent in the incarcerated population than in the general public. 67




      66
         Letter from Johns Hopkins Faculty, supra note 43; Velesaca v. Decker, 20-cv-1803 (S.D.N.Y.) at Doc. No. 42
(March 16, 2020) (Declaration of Dr. Jaimie Meyer) (noting, inter alia, that jails environments have reduced
prevention opportunities, increased susceptibility, and are often poorly equipped to diagnose and manage outbreaks
of infection disease).
      67
         Peter Wagner & Emily Widra, No need to wait for pandemics: The public health case for
      criminal justice reform, Prison Policy Initiative (Mar. 6, 2020), https://cutt.ly/7tJXmlC.

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          44.     Correctional facilities house large groups of people together, and move people in

groups to eat, recreate, and go to court. 68 They frequently have insufficient medical care for the

population even outside times of crisis. 69 Hot water, soap, and paper towels are often in limited

supply. Incarcerated people, rather than professional cleaners, are responsible for cleaning the

facilities 70 and often are not given appropriate supplies.

          45.     Outbreaks of tuberculosis and the flu regularly occur in jails, including during the

H1N1 epidemic in 2009 in which jails and prisons dealt with a disproportionately high number of

cases. 71



     68
         See, e.g, Nathalie Baptiste, Correctional Facilities are the Perfect Incubators for the Coronavirus, (March 6,
2020), https://cutt.ly/GtRSi3e.
      69
         See, e.g., Steve Coll, the Jail Health-Care Crisis, The New Yorker (Feb. 25, 2019), https://cutt.ly/ftERHNg.
      70
         See, e.g., Wendy Sawyer, How much do incarcerated people earn in each state?, Prison Policy Initiative,
(April 10, 2017); https://cutt.ly/qtER2bh (noting that “custodial, maintenance, laundry” and “grounds keeping” are
among the most common jobs for incarcerated people); North Carolina Dept. of Corrections, North Carolina Prison
Inmates at Work, https://cutt.ly/jtERCbb (noting that cleaning the grounds and facilities is one of the jobs of
incarcerated persons in North Carolina).
      71
         Declaration of Robert L. Cohen, M.D. (Cohen Dec.) ¶¶ 4–5. The H1N1 “swine flu” pandemic outbreak spread
dramatically in jails and prisons in 2010, but that strain of virus had a low fatality rate because of the characteristics
of the virus—COVID-19’s fatality rate is far higher. David M. Reutter, Swine Flu Widespread in Prisons and Jails,
but Deaths are Few (Feb. 15, 2010), https://cutt.ly/ytRSkuX.


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          46.    Numerous public health experts, including Dr. Gregg Gonsalves, 72 Ross

MacDonald, 73 Dr. Marc Stern, 74 Dr. Oluwadamilola T. Oladeru and Adam Beckman, 75 Dr. Anne

Spaulding, 76 Homer Venters, 77 Jaimie Meyer, 78 the faculty at Johns Hopkins schools of nursing,

medicine, and public health, 79 and Josiah Rich 80 have all strongly cautioned that people booked

into and held in jails are likely to face serious, even grave, harm due to the outbreak of

COVID-19.

          47.    Because of the extraordinary danger that COVID-19 will spread in jails and prisons,

the Centers for Disease Control and Prevention (“CDC”) have issued specific guidance for dealing

with correctional and detention facilities, including local jails. 81 The guidance was published on

March 23, 2020. It acknowledges that incarcerated people are forced to exist “within congregate

environments” that “heighten[] the potential for COVID-19 to spread once introduced,” especially

given that “[t]here are many opportunities for COVID-19 to be introduced into a correctional or

detention facility,” including “daily staff ingress and egress” as well as “high turnover” of

“admit[ted] new entrants.” In light of these concerns, the guidance recommends that detention




     72
         Kelan Lyons, Elderly Prison Population Vulnerable to Potential Coronavirus Outbreak, Connecticut Mirror
(March 11, 2020), https://cutt.ly/BtRSxCF.
      73
         Craig McCarthy and Natalie Musumeci, Top Rikers Doctor: Coronavirus ‘Storm is Coming,’ New York Post
(March 19, 2020), https://cutt.ly/ptRSnVo.
      74
          Marc F. Stern, MD, MPH, Washington State Jails Coronavirus Management Suggestions in 3 “Buckets,”
Washington Assoc. of Sheriffs & Police Chiefs (March 5, 2020), https://cutt.ly/EtRSm4R.
      75
         Oluwadamilola T. Oladeru, et al., What COVID-19 Means for America’s Incarcerated Population – and How
to Ensure It’s Not Left Behind, (March 10, 2020), https://cutt.ly/QtRSYNA.
      76
          Anne C. Spaulding, MD MPDH, Coronavirus COVID-19 and the Correctional Jail, Emory Center for the
Health of Incarcerated Persons (March 9, 2020).
      77
         Madison Pauly, To Arrest the Spread of Coronavirus, Arrest Fewer People, Mother Jones (March 12, 2020),
https://cutt.ly/jtRSPnk.
      78
         Meyer Dec., supra note 66.
      79
         See, supra note 43.
      80
         Amanda Holpuch, Calls Mount to Free Low-risk US Inmates to Curb Coronavirus Impact on Prisons, The
Guardian (March 13, 2020 3:00 p.m.), https://cutt.ly/itRSDNH.
      81
         Centers for Disease Control, Interim Guidance on Management of Coronavirus Disease 2019 (COVID-19) in
Correctional and Detention Facilities (March 23, 2020), https://cutt.ly/atJPt5B.

                                                      19
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facilities “explore strategies to prevent over-crowding of correctional and detention facilities

during a community outbreak.” The guidance further recommends that the correctional facilities:

              a.      Post signage throughout the facility communicating COVID-19 symptoms
                      and hand hygiene instructions, ensure such signage is understandable for
                      non-English speaking people as well as those with low literacy, and provide
                      clear information about the presence of COVID-19 cases within a facility
                      and the need to increase social distancing and maintain hygiene precautions;

              b.      Ensure sufficient stocks of hygiene and cleaning supplies, including tissues;
                      liquid soap where possible; hand drying supplies; alcohol-based hand
                      sanitizer; cleaning supplies effective against the coronavirus; and
                      recommended personal protective equipment like face masks, disposable
                      medical gloves, and N95 respirators;

              c.      Provide incarcerated people no-cost access to soap (providing liquid soap
                      where possible), running water, hand drying machines or disposable paper
                      towels for hand washing, and tissues (providing no-touch trash receptacles
                      for disposal);

              d.      Consider relaxing restrictions on allowing alcohol-based hand sanitizer
                      where security concerns allow;

              e.      Provide a no-cost supply of soap sufficient to allow frequent hand washing,
                      providing liquid soap where possible;

              f.      Suspend co-pays for incarcerated people seeking medical evaluation for
                      respiratory symptoms;

              g.      Even if COVID-19 cases have not been identified locally or inside,
                      implement “intensified cleaning and disinfecting procedures” that clean and
                      disinfect high-touch surfaces and objects “[s]everal times per day,” and
                      ensure adequate supplies to support intensified cleaning and disinfection
                      practices”;

              h.      Perform pre-intake screening and temperature checks for all new entrants;

              i.      Adopt social distancing strategies to increase space between individuals,
                      including rearranging bunking to ensure that beds are at a minimum six feet
                      apart in all directions, increasing space in lines and waiting areas, staggering
                      meals and rearranging seating during meals so that detainees are sitting on
                      only one side of the table and are separated with adequate space;

              j.      Medically isolate confirmed and suspected cases and quarantine of contacts.



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       48.    Despite the fact that the CDC Guidelines have been available for weeks, the Dallas

County Jail has not complied with the majority of these guidelines.

       49.    The Dallas County Jail has wholly failed to implement protective social distancing

policies among detainees or staff. Many of the detainees sleep in shared bunk dorm “pods” with

up to 64 beds. Sanchez Dec. ¶ 2 (all pods in the South Tower have 64 beds in a common room);

Perez Dec. ¶ 3; McNickles Dec. ¶ 1. Even though the bunks are only between 1 and 4 feet apart,

far closer than the recommended six or more feet, the shared bunk rooms have been almost full to

capacity with between 48 and 60 men at any given time in the last few weeks in a single common

dorm. Wright Dec. ¶ 6; Morrison Dec., ¶ 4, Munoz Dec., ¶ 8; Perez Dec. ¶ 3; Sanchez Dec. ¶. 2;

McKnickles Dec. ¶¶ 1. 5. Neither the detainees nor the staff practice social distancing. Sanchez

Dec. ¶ 7; McKnickles Dec. ¶ 4.

       50.    Social distancing is not possible during sleep, meals, or during distribution of

medications under the current conditions. During meals the tables are crowded and the detainees

sit so close that they are touching the persons seated next to them. Dec. Sanchez ¶ 9. The men

line up for meals, commissary, clothing, and medication in close proximity, no more than one foot

apart. Sanchez Dec. ¶ 10. The detention officers are also not practicing social distancing.

McKnickles Dec. ¶ 4. They gather in groups, and on at least one occasion, a group of guards ate

from a common bag of chips. Perez Dec.¶ 7.

       51.    The Dallas County Jail has neither implemented adequate testing nor adopted

adequate procedures to isolate confirmed and suspected cases. Testing has been delayed or denied,

even to detainees with symptoms. See White Dec. ¶ 2 (despite presenting with symptoms including

coughing, congestion and body aches on March 21st, Plaintiff White was not moved from a group

dorm until four days later, and COVID-19 testing was not offered until more than 10 days later,



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on April 2); Perez Dec. ¶ 3 (he has not been tested despite developing cough, and reporting other

men in his pod who were coughing for weeks to the nurse, but no evaluation offered to them);

Wright Dec. ¶ 4 (no one in his dorm has been tested for the virus). Men with symptoms are

frequently denied medical treatment.      Id.; McDonald Dec. ¶ 3 (jail staff denied Plaintiff

McDonald’s request for evaluation and treatment when he experienced breathing problems even

though he has severe asthma); Baker Dec. ¶ 2 (medical attention withheld for five hours to Plaintiff

Baker during a severe asthma attack). Named plaintiff McDonald, who has tested positive for

COVID-19 and has significant underlying medical conditions, has been denied basic hydration.

McDonald Dec. at ¶ 7.

       52.     Detainees who tested positive remained in group dorms next to detainees who did

not have symptoms and who had not been tested. See Baker Dec. ¶ 4 (describing Plaintiff Baker’s

repeated requests to be moved when held next to individuals with confirmed cases of the virus).

Even when the Dallas County Jail officials determined that positive cases required movement of

exposed detainees, they transferred the individuals who had been exposed in closed proximity with

persons with confirmed cases to different dorms without any testing. See Sanchez Dec. ¶ 3

(describing his transfer to from the dorm with a number of confirmed cases to a new dorm without

testing); Baker Dec. ¶¶ 4-5 (describing being transferred to a new cell, connected to two other

cells, after being in proximity with the confirmed cases and not receiving testing despite the fact

that he had a sore throat and cough).

       53.     The Dallas County Jail has further failed to provide basic information about virus

prevention recommended by the CDC to all detainees. Some of the plaintiffs have been left to try

to discover how to protect themselves from intermittently available news coverage.              See

White Dec. ¶ 4 (“The jail staff never told Mr. White about how to avoid spreading the virus…he



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learned on the news that the virus is airborne and can stay on surfaces for several days. Mr. White

no longer has access to the news); Morrison Dec. ¶ 3 (“The staff have not told [him] about COVID-

19. He knows he is high risk, but does not know how to prevent himself from getting the virus.”);

Wright Dec. ¶ 9 (reporting that the jail staff have not provided information about the virus or how

to prevent its spread).

       54.     Contrary to the CDC’s guidelines, the Dallas County Jail has failed to provide staff

with adequate PPE and to require the use and regular replacement of such equipment. Most guards

do not wear masks See Perez ¶7 (“Mr. Perez has seen only one out of every six guards wearing

masks.”). Some guards even enter pods holding people known to have tested positive for COVID-

19 without any PPE. Wright ¶ 3. When guards do use PPE, they often do not follow the proper

public health guidance required for the mask to be effective. See Baker ¶ 9 (“The staff in the West

Tower wear masks, but they do not change them out between interactions with detainees who have

the virus and those who don’t have the virus.”); Sanchez ¶ 5 (“The guards that wear facemasks do

not change their masks when they go from dorm to dorm.”).

       55.     Detainees are generally denied access to any PPE, even upon request. See Perez ¶6

(“When Mr. Perez asked for a mask, he was told that the jail staff have to buy their own masks, so

they would not give him one.”); Sanchez ¶ 5 (“When Mr. Sanchez asked guards for a facemask,

he was told the only people that need masks are the guards.”); McKnickles ¶ 7 (“He also asked for

face masks. The jail staff haven’t. . . given him any personal protective gear.”). See also, Morrison

¶5; Munoz ¶ 3; White ¶ 3. Those that are denied staff masks are also prevented from creating their

own from materials they have access it in their cells. Perez ¶ 6 (“Some detainees tried wrapping

bath towels around their heads to cover their faces, but the jail staff told them they were not allowed

to do that.”). When detainees are given masks, they are expected to wear the same mask for the



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remaining period of their detention, regardless of how long. Baker ¶9 (““Mr. Baker was provided

with a mask only after he asked for one. He has had to use the same one repeatedly because he

was not given replacements.”). Most egregiously, when a detainee is removed from a pod because

he is sick, the guards require his cellmates to collect the sick man’s belongings and clean his bunk

without first providing them with any personal protective gear. Sanchez Dec. ¶ 3; Perez Dec. ¶ 9.

       56.     The Dallas County Jail has also fallen far short of ensuring sufficient stocks of

hygiene and cleaning supplies or providing detainees with no-cost access to these supplies. Wright

Dec. ¶8. (“Sometimes the guards just don’t have the soap and other cleaning agents.”) Some

detainees are given 3-4 single use bars of soap once a week that don’t last one day. McDonald ¶

11. Others are not given any soap at all. White ¶ 6. The only way to obtain additional soap is to

purchase it through commissary, which is either irregularly available or shut down completely,

depending on the Tower. McDonald ¶ 11; Baker ¶ 6; Sanchez 11. See Munoz ¶ 6, “Mr. Munoz

requested soap today and was told that the detainees were using excessive soap. He did not want

to argue with the guards, so he did not receive any soap.” As a result, detainees and the cells in

which they are forced to live are anything but clean. See Morrison ¶ 6 (“The pod is filthy”);

McDonald ¶ 10 (“The walls in his cell are so dirty that he is afraid to touch them.”). While some

pods have access to shower daily, detainees in pods holding people who have either tested positive

for COVID-19 or are suspected of exposure to COVID-19 have been denied showers for up to ten

days in a row. Baker par 8. White ¶ 8. Sick detainees are therefore forced to either “take a bird

bath in the sink” or forego bathing altogether. When they are finally allowed to take a shower, the

water is cold. Baker ¶ 8.

       57.     The Dallas County Jail has failed to enforce adequate policies for disinfecting

surfaces to prevent the spread of the virus. First, large numbers of detainees share a small number



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of phones, yet the phones are not regularly cleaned. Sanchez p7 (“All 60 men in both A and E pods

share 8 phones, none of which are disinfected between use.”) Additionally, detainees themselves

are responsible for cleaning the pods, including the toilets and showers. Volunteers are rewarded

with larger portions of food regardless of the quality of their work. Because the jail has not

adequately informed detainees about the virus and how to prevent its spread, cleaning volunteering

often do an insufficient job which goes unchecked. Sanchez par 8. (“Mr. Sanchez started

volunteering because his bunk is 3 feet from the toilets and the other volunteers usually do not

clean properly.”).

           58.    The Dallas County Jail has denied detainees with adequate nutrition during the

pandemic. Detainees on the 9th floor of West Tower, which holds both people who have been

tested positive for COVID-19 and people who have not been tested, endure especially cruel

conditions. Guard distribute meals to people on the 9th floor by “smashing the food and shoving it

in the crack between the door and the ground.” Baker ¶7. Much of the food becomes inedible. As

a result, some detainees have lost a significant amount of weight in a short period of time. Baker

¶7.

                  Existing Procedures and Protocols Will Not Be Sufficient to Ensure the
                  Safety of Class Members or the General Public.
           59.    Because of the severity of the threat posed by COVID-19, and its potential to

rapidly spread throughout a correctional setting, public health experts recommend the rapid release

from custody of people most vulnerable to COVID-19. 82 Release protects the people with the



      82
        See Cohen Dec. at ¶¶ 30 – 31 (“Considerable downsizing is needed—less urgent action will not be sufficient.”;
Meyer Dec., supra note 66 at ¶¶ 37–38 (noting that population reduction in jails will be “crucially important to
reducing the level of risk both for those within [jail] facilities and for the community at large,” and that stemming the
flow of intakes is a part of the necessary intervention); Greifinger Dec., supra note 12 at ¶ 13 (“In my opinion, the
public health recommendation is to release high-risk people from detention, given the heightened risks to their health
and safety, especially given the lack of a viable vaccine for prevention or effective treatment at this stage.”); Dawson,


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greatest vulnerability to COVID-19 from transmission of the virus, and it also allows for greater

risk mitigation for people held or working in a jail and the broader community. 83 Release of the

most vulnerable people from custody also reduces the burden on the region’s health care

infrastructure by reducing the likelihood that an overwhelming number of people will become

seriously ill from COVID-19 at the same time.

         60.      Jail administrators in Cuyahoga County, Ohio 84; Los Angeles, California 85; San

Francisco, California 86; Jefferson County, Colorado 87; Montgomery, Alabama 88; and the State of

New Jersey, 89 among others, have concluded that widespread jail release is a necessary and

appropriate public health intervention. New bookings into jails also must be reduced, as recognized

by statewide action in California directing judges to set bail at $0 in a wide range of cases. 90

         61.      Notwithstanding efforts by the Dallas Sheriff’s Office to detect obvious symptoms

of COVID-19 infection and release some detainees, immediate release of medically vulnerable

Plaintiffs remains a necessary public health intervention. 91 Release of the Medically-Vulnerable




20-cv-409 (W.D. Wash.) at Doc. No. 6, Declaration of Marc Stern at ¶¶ 9–10 (noting that release is “a critically
important way to meaningfully mitigate” the risks of harm to persons who are at high risk of serious illness or death,
as well as to support the broader community health infrastructure).
      83
         Id.
      84
         Scott Noll, Cuyahoga County Jail Releases Hundreds of Low-Level Offenders to Prepare for Coronavirus
Pandemic, (March 20 2020 6:04 p.m.), https://cutt.ly/CtRSHkZ.
      85
         Alene Tchekmedyian, More L.A. County Jail Inmates Released Over Fears of Coronavirus Outbreak, L.A.
Times, (March 19, 2020 6:55 p.m.), https://cutt.ly/ltRSCs6.
      86
         Megan Cassidy, Alameda County Releases 250 Jail Inmates Amid Coronavirus Concerns, SF to Release 26,
San Francisco Chronicle (March 20, 2020), https://cutt.ly/0tRSVmG.
      87
         Jenna Carroll, Inmates Being Released Early From JeffCo Detention Facility Amid Coronavirus Concerns,
KDVR Colorado (March 19, 2020 2:29 pm.), https://cutt.ly/UtRS8LE.
      88
         See In Re: Covid-19 Pandemic Emergency Response, Administrative Order No. 4, Montgomery County Circuit
Court (March 17, 2020).
      89
         Erin Vogt, Here’s NJ’s Plan for Releasing Up to 1,000 Inmates as COVID-19 Spreads (March 23, 2020),
https://cutt.ly/QtRS53w.
      90
         Maura Dolan, In Uncharted Territory, California Court Leaders OK Urgent New Rules for Coronavirus, Los
Angeles Times (April 6, 2020, 6:50 p.m.), https://cutt.ly/atJVHcI.
      91
         See Public Health Expert Declarations, supra note 82.


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Subclass Members is necessary both to prevent significant harm, but also to facilitate the social

distancing needed to reduce transmission for all proposed Class Members and the wider public. 92

          62.     The Dallas County Jail cannot handle the rapidly growing COVID-19 outbreak

there, and thus the relief Plaintiffs seek is necessary to forestall the exponential spread of COVID-

19 from the Jail to the community at large. With more than 5,000 detainees in the North, South,

and West Towers of the Lew Sterrett Justice Center, dozens of employees failing to report for

work, the delay in starting to screen employees and detainees for COVID-19 until March 27, 2020,

the general unavailability of COVID-19 test kits for detainees and employees, the shortage of N95

masks and other personal protective equipment (PPE) even for employees much less for detainees,

the routine mingling of large groups of detainees (50 or more) within dozens of pods, and the

impossibility of implementing social/physical distancing for detainees and employees, the Dallas

County Jail has failed to protect the present population of detainees, employees, and the larger

community against the racing spread of COVID-19.

          63.     Nor are the medical resources in Dallas County remotely adequate to deal with the

looming repercussions of the outbreak in the Dallas County Jail. On April 5, 2020, the City of

Dallas disclosed that 19 hospitals reported 772 intensive care unit (ICU) beds with 462 occupied

and 865 ventilators with 302 in use. 93 Between March 10, 2020 and April 6, 2020, 383 Dallas

patients with COVID-19 have been hospitalized (30 percent of all COVID-19 cases), with 119 in

ICUs and 72 on ventilators (19 percent of all COVID-19 cases). 94 If the number of serious COVID-



     92
         Id. Further, in the prison context, the ABA urges that “Governmental authorities in all branches in a jurisdiction
should take necessary steps to avoid crowding that… adversely affects the … protection of prisoners from harm,
including the spread of disease.” ABA Standard on Treatment of Prisoners 23-3.1(b).
      93
          Fox 4, Dallas Hospitals Report having more than 2,000 beds, 563 ventilators available (Apr. 5, 2020)
https://cutt.ly/ztJVCs1.
      94
         Dallas County Health and Human Services 2019 Novel Coronavirus (COVID-19) Summary, supra note 54 at
Table 5.


                                                           27
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19 cases in Dallas County grows at a rate similar to the rate of increase since March 10, the number

of ICU beds and ventilators available in the community will be grossly inadequate, and there will

be no time to adjust to the emergency. 95 The outbreak in the Dallas County Jail could easily

overwhelm the scarce supply of ICU beds and ventilators for the entire Dallas community.

          64.    Further, the Dallas County Jail must respond to and manage the continued risk of

harm posed by the COVID-19 outbreak by following CDC 96 and other public health guidelines.

This requires: (a) providing all incarcerated persons a six-foot radius (113 ft2) or more of distance

between any other persons, as well as during meals, transportation, court sessions, recreation,

counts, and all other activities; (b) instituting a safety plan to prevent a further COVID-19 outbreak

in the Dallas County Jail in accordance with CDC guidelines; (c) making readily available access

to sanitation solutions, without charge, for the purposes of cleaning cell, dormitory, laundry, and

eating areas, including sufficient soap, and lifting any ban on alcohol-based hygiene supplies (e.g.

hand sanitizer, cleaning wipes); (d) providing COVID-19 testing for all class members, jail staff,

and visitors; (e) providing those incarcerated with personal protective equipment, including face

masks; (f) providing persons incarcerated with updated information about COVID-19 and daily

population statistics with respect to the jail itself; (g) ensuring sufficient access to quarantine and

medical isolation space, while still providing adequate hygiene and basic necessities; (h) waiving

all medical co-pays for those experiencing COVID-19 like symptoms; and (i) waiving all charges

for medical grievances during the COVID-19 outbreak. Cohen Dec. ¶¶ 30–46.




     95
         This has occurred in other places with widespread outbreaks already. New York State is currently depending
on 1,100 ventilators donated from Oregon State and China. Colin Dwyer, “This is a Big Deal: New York Hails
Ventilator Deliveries from China and Oregon, N.Y. Times, (April 4, 2020), https://cutt.ly/jtJTmT4. New York City
is asking veterinarians to donate ventilators. Miranda Bryant, New York Veterinarians Give Ventilators to ‘War
Efforts’ Against Coronavirus, The Guardian, (Apr. 2, 2020), https://cutt.ly/utJTTQG.
      96
         Centers for Disease Control, Interim Guidance on Management of Coronavirus Disease 2019 (COVID-19) in
Correctional and Detention Facilities (March 23, 2020), https://cutt.ly/atJPt5B.

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                         V.        CLASS ACTION ALLEGATIONS

       65.     Plaintiffs bring this action pursuant to Rule 23 of the Federal Rules of Civil

Procedures on behalf of themselves and a class of similarly situated individuals.

       66.     Plaintiffs Oscar Sanchez, Marcus White, Keith Baker, and Tesmond McDonald

seek to represent a class of all current and future detainees in pretrial custody, including alleged

violations of probation or parole, at the Jail (“Pre-Adjudication Class”), including a subclass of all

persons who, by reason of age or medical condition, the CDC has identified as particularly

vulnerable to injury or death if they were to contract COVID-19 (“Medically-Vulnerable Pre-

Adjudication Subclass”). Plaintiffs Sanchez, Baker, and McDonald are also representatives and

members of this Medically-Vulnerable Pre-Adjudication Subclass.

       67.     Plaintiffs Marcelo Perez, Paul Wright, Jose Munoz, Roger Morrison, Terry

McNickles seek to represent a class of all current and future detainees in post-adjudication custody,

including those serving a term of incarceration pursuant to an adjudicated violation of probation

or parole, at the Jail (“Post-Adjudication Class”), including a subclass of persons who, by reason

of age or medical condition, are particularly vulnerable to injury or death if they were to contract

COVID-19 (“Medically-Vulnerable Post-Adjudication Subclass”). Plaintiffs Perez, Wright,

Morrison, and McNickles are also representatives and members of this Medically-Vulnerable Post-

Adjudication Subclass.

       68.     The “Medically-Vulnerable” subclasses are defined as all current and future

persons held at the Dallas County Jail over the age of 50, as well as all current and future persons

held at the Dallas County Jail of any age who experience (a) lung disease, including asthma,

chronic obstructive pulmonary disease (e.g. bronchitis or emphysema), or other chronic conditions

associated with impaired lung function; (b) heart disease, such as congenital heart disease,

congestive heart failure and coronary artery disease; (c) chronic liver or kidney disease (including
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hepatitis and dialysis patients); (d) diabetes or other endocrine disorders; (e) epilepsy; (f)

hypertension; (g) compromised immune systems (such as from cancer, HIV, receipt of an organ

or bone marrow transplant, as a side effect of medication, or other autoimmune disease); (h) blood

disorders (including sickle cell disease); (i) inherited metabolic disorders; (j) history of stroke; (k)

a developmental disability; and/or (l) a current or recent (within the last two weeks) pregnancy.

          69.    This action has been brought and may properly be maintained as a class action

under Federal law. It satisfies the numerosity, commonality, typicality, and adequacy requirements

for maintaining a class action under Fed. R. Civ. P. 23(a).

          70.    Joinder is impracticable because (1) the classes and subclasses are numerous; (2)

the classes and subclasses include future members, and (3) the classes and subclass members are

incarcerated, rendering their ability to institute individual lawsuits limited.

          71.    Based on available information, there are at least 40 people in the proposed Pre-

Adjudication Class, the proposed Post-Adjudication Class, and each proposed subclass. Everyone

in the Dallas County Jail is a proposed class members. The April 6, 2020 daily population report

for the Dallas County Jail listed 5,180 total persons, of which nearly 200 people were in custody

for pending misdemeanor charges, over 1,000 for pending felony charges, 255 people for parole

violation holds, and over 500 serving various sentences. 97

          72.    Common questions of law and fact exist as to all members of the proposed classes:

all are at unreasonable risk of serious harm from contracting COVID-19 due to the conditions in

the Dallas County Jail and Defendants’ failure to take reasonable measures to assure their safety

from the disease, and all have a right to receive adequate COVID-19 prevention, testing, and



     97
       Dallas County Criminal Justice Management Committee Information Statistics (April 6, 2020). The “serving
various sentences” figure is based on an approximation including the categories with a Texas Dep’t of Corrections
designation, “sentenced SJF,” “serving in county jail,” and/or “serving county fines and fees.”

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treatment. Questions of fact common to all proposed class members include whether the conditions

in the Dallas County Jail expose them to heightened risk of contracting COVID-19, and questions

common to all members of the subclass include whether the conditions in the Dallas County Jail

expose them to heightened risk of serious illness, injury, or death. Questions of law common to all

proposed class and subclass members include what relief is necessary to mitigate the risks posed

by their confinement in the Dallas County Jail.

       73.     Plaintiffs’ claims are typical of the class and the subclass members’ claims.

Defendants have placed them at significant risk of harm by failing to take appropriate steps to

address the risk of contracting, and being rendered seriously ill or injured by, COVID-19 in the

Dallas County Jail. Plaintiffs, like every person in the Jail, face heightened risk of contracting

COVID-19 if they are not adequately protected by Defendants.

       74.     Named Plaintiffs have the requisite personal interest in the outcome of this action

and will fairly and adequately protect the interests of the class. Plaintiffs have no interests adverse

to the interests of the proposed class. Plaintiffs retained pro bono counsel with experience and

success in the prosecution of civil rights litigation. Counsel for Plaintiffs know of no conflicts

among proposed class members or between counsel and proposed class members.

       75.     Defendants have acted on grounds generally applicable to all proposed class

members, and this action seeks declaratory and injunctive relief. Plaintiffs therefore seek class

certification under Rule 23(b)(2).

       76.     In the alternative, the requirements of Rule 23(b)(1) are satisfied, because

prosecuting separate actions would create a risk of inconsistent or varying adjudications with

respect to individual class members that would establish incompatible standards of contact for the

party opposing the proposed classes.



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                                           VI.          ARGUMENT
                  Plaintiffs’ Incarceration Amidst the Current COVID-19 Outbreak in the
                  Dallas County Jail Violates their Right to Constitutional Conditions of
                  Confinement.
         77.      Corrections officials have a constitutional obligation to provide for detainees’

reasonable safety and to address their serious medical needs. Farmer v. Brennan, 511 U.S. 825,

828 (1994). Indeed, under the Eighth Amendment, prison officials “must provide humane

conditions of confinement; . . . must ensure that inmates received adequate food, clothing, shelter,

and medical care, and must take reasonable reassures to guarantee the safety of the inmates[.]” Id.

at 832 (internal quotation marks omitted). 98 This obligation also requires corrections officials to

address prisoners’ serious medical needs. See Estelle v. Gamble, 429 U.S. 97, 104 (1976); Brown

v. Plata, 563 U.S. 493, 531-32 (2011); Hinojosa v. Livingston, 807 F.3d 657, 666 (5th Cir. 2015)

(plaintiff stated an Eighth Amendment claim when Defendants subjected him to conditions

“posing a substantial risk of serious harm” to his health).

         78.      This obligation requires corrections officials to protect detainees from infectious

diseases like COVID-19; officials may not wait until someone tests positive for the virus, and an

outbreak begins. Helling v. McKinney, 509 U.S. 25, 33-34 (1993) (“That the Eighth Amendment

protects against future harm to inmates is not a novel proposition. . . . It would be odd to deny an

injunction to inmates who plainly proved an unsafe, life-threatening condition in their prison on

the ground that nothing yet had happened to them”); Gates v. Cook, 376 F.3d 323, 333 (5th Cir.

2004) (“It is also important to note that [an] inmate need not show that death or serious illness has



      98
         Plaintiffs and Class Members are both pretrial and post-conviction detainees. The Fourteenth Amendment’s
Due Process Clause governs conditions-of-confinement claims like these for pretrial detainees, while the Eighth
Amendment governs post-conviction detainees. While it is clear that pretrial detainees are presumed innocent and
therefore merit greater protection, see Bell v. Wolfish, 441 U.S. 520, 535 n.16 (1979), the distinction is irrelevant here:
the harms of actual and potential COVID-19 contraction alleged herein clearly satisfy the Eighth Amendment’s more
restrictive standard.

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[already] occurred.”); see also Farmer, 511 U.S. at 833 (“[H]aving stripped [prisoners] of virtually

every means of self-protection and foreclosed their access to outside aid, the government and its

officials are not free to let the state of nature take its course.”).

        79.     Jail officials violate this affirmative obligation by showing “deliberate

indifference” to the substantial risk of serious harm. Farmer, 511 U.S. at 828. With respect to an

impending infectious disease like COVID-19, deliberate indifference is satisfied when corrections

officials “ignore a condition of confinement that is sure or very likely to cause serious illness and

needless suffering the next week or month or year,” even when “the complaining inmate shows no

serious current symptoms.” Helling, 509 U.S. at 33 (holding that a prisoner “states a cause of

action . . . by alleging that [corrections officials] have, with deliberate indifference, exposed him

to conditions that pose an unreasonable risk of serious damage to future health”) (emphasis added);

see also Ball v. LeBlanc, 792 F.3d 584, 594 (5th Cir. 2015) (court “may conclude that a prison

official knew of a substantial risk from the very fact that the risk was obvious”) (citing Farmer,

511 U.S. at 842); Hinojosa, 807 F.3d at 667 (“open and obvious nature” of dangerous prison

conditions supported an inference of deliberate indifference”); Johnson v. Epps, 499 F. App’x 583,

589-92 (5th Cir. 2012) (allegations that prisoner was exposed to “serious, communicable diseases”

and that prison officials were aware of the risk and did nothing to prevent it were sufficient to state

a claim for violation of Eighth Amendment rights); Gates v. Collier, 501 F.2d 1291, 1300-03 (5th

Cir. 1974) (affirming district court’s holding that allowing “[s]ome inmates with serious

contagious diseases . . . to mingle with the general prison population,” alongside maintaining a

host of other unsanitary and inhumane conditions, “constitute[d] cruel and unusual punishment”)

(cited with approval in Rhodes v. Chapman, 452 U.S. 337, 352 n. 17 (1981)).




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          80.      Here, COVID-19 is “sure or very likely to cause serious illness,” and even waiting

until “next week” to attempt mitigation efforts within the jail will be too long. See supra Part IV.

The harmful “condition of confinement” is confinement itself. Moreover, jail officials have been

on notice of the substantial threat that COVID-19 poses to detainees—including the putative class

members—for weeks.

          81.      As outlined in the Declaration of Robert L. Cohen, M.D., Regarding the Spread of

COVID-19 in and from the Dallas County Jail (Cohen Dec.) in support of Plaintiffs’ Motion for a

Temporary Restraining Order, Preliminary Injunction, and Writ of Habeas Corpus, there are no

mitigation efforts that the Dallas County Jail could undertake that would better prevent the risk of

contraction—and possible later spread to the non-jail community—than immediate release of the

Medically-Vulnerable Subclass and others as needed. Cohen Dec. at ¶ 30–46.

          82.      In addition to the immediate release of all Medically-Vulnerable Class Members,

the Dallas County Jail must implement the additional measures outlined by Dr. Cohen (e.g.,

physical distancing, testing, quarantine, hygiene, medical care, personal protective equipment,

public health information, etc.) and other public health/CDC guidance. Efforts to date—starting to

check the temperature of employees and relying on regular staff to evaluate existing detainees and

ask COVID-19 screening questions to new detainees as of March 27, 2020, continuing only routine

sanitation protocols, wearing surgical masks for up to a week rather than changing them daily, and

assigning potentially infected detainees to “designated” cells within the Dallas County Jail

itself 99—are plainly deficient. Defendants’ failure to release particularly vulnerable people and

sufficiently adopt protocols to protect those who remain incarcerated constitutes deliberate

indifference. See, e.g., Hare v. City of Corinth, Miss., 74 F.3d 633, 644 (5th Cir. 1996) (“even



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         COVID-19 Initiatives, Dallas County Sheriff’s Office, supra note 25.

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where a State may not want to subject a detainee to inhumane conditions of confinement or abusive

jail practices, its intent to do so is nevertheless presumed when it incarcerates the detainee in the

face of such known conditions and practices.”). As Dr. Cohen notes, the conditions in the Dallas

County Jail “create a high risk of contributing to an outbreak of COVID-19,” as the jail is not

operationalizing public health guidance and is not equipped to slow transmission of the disease.

Cohen Dec. at ¶¶ 4, 13–22.

       83.     A related but distinct right of pretrial detainees—who are presumed innocent and

therefore entitled to greater protection from unconstitutional conditions of confinement—is that

their pretrial confinement cannot amount to punishment. Bell, 441 U.S. at 535 (“[U]nder the Due

Process Clause, a detainee may not be punished prior to an adjudication of guilt in accordance with

due process of law.”); id. at n.16 (pretrial detainees retain greater protections than convicted

counterparts); Parker v. Carpenter, 978 F.2d 190, 193 (5th Cir. 1992) (ordering evidentiary

hearing on whether transfer to more violent wing was punitive). Punishment—and therefore

deliberate indifference—is established if the jailer’s conduct is either not rationally related to a

legitimate, nonpunitive government purpose or excessive in relation to that purpose. Bell, 441 U.S.

at 561; Kingsley v. Hendrickson, 135 S. Ct. 2466, 2473–74 (2015); see also Alderson v. Concordia

Par. Corr. Facility, 848 F.3d 415 (5th Cir. 2017). Both elements are satisfied here. Even if the

Dallas County Jail’s current spacing of detainees and provision of healthcare would serve the

legitimate purpose of jail health and safety in normal times, those procedures, together with recent

modifications, are now endangering health and safety in the wake of COVID-19 by keeping people

in the jail. Hence, continuing to detain Plaintiffs and putative class members is not rationally

related to the goal of health and safety (both the jail’s and the public’s) and is indeed excessive in

relation to the course of conduct that would in fact achieve that goal: release with the support



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protections outlined herein. See Plata, 563 U.S. 493 (ordering release of inmates to correct

overcrowding that violated Eighth Amendment); Memorandum and Order. Other courts to

evaluate this question in light of the present COVID-19 pandemic have determined that the Eighth

and Fourteenth Amendments require release of vulnerable persons. Thakker, No. 20-CV-0480

(M.D. Pa. Mar. 31, 2020) (categorically releasing petitioners who “suffer[] from chronic medical

conditions and face[] an imminent risk of death or serious injury if exposed to COVID-19”);

Fraihat v. Wolf, 20-cv-590 (TJH), (C.D. Cal. Mar. 30, 2020) (“This is an unprecedented time in

our nation’s history, filled with uncertainty, fear, and anxiety. But in the time of a crisis, our

response to those at particularly high risk must be with compassion and not apathy. The

Government cannot act with a callous disregard for the safety of our fellow human beings.”);

Castillo v. Barr, 20-cv-605 (TJH) (AFM), Dkt. No. 32 (C.D. Cal. Mar. 27, 2020); Coronel, 2020

WL 1487274; Basank v. Decker, 20-cv-2518 (AT), Dkt. No. 11 (S.D.N.Y. Mar. 26, 2020) (“The

risk that Petitioners will face a severe, and quite possibly fatal, infection if they remain in

immigration detention constitutes irreparable harm warranting a TRO.”); Jovel v. Decker, 12-cv-

308 (GBD), Dkt. No. 27 (S.D.N.Y. Mar. 26, 2020); Malam v. Adducci, No. 20-cv-10829 (E.D.

Mich.) at Doc. No. 23 (granting similar motion for a temporary restraining order).

               28 U.S.C. § 2241 is an Appropriate Vehicle to Remedy these Violations.
       84.     Section 2241(c)(3) allows this court to order the release of inmates like Plaintiffs

who are held “in violation of the Constitution.” 28 U.S.C. 2241(c)(3);Boumediene v. Bush, 533

U.S. 723 (2008) (The federal constitution requires that the habeas privilege be available in the

absence of suspension); Preiser v. Rodriguez, 411 U.S. 475, 484 (1973) (“It is clear, not only from

the language of 2241(c)(3) and 2254(a), but also from the common-law history of the writ, that the

essence of habeas corpus is an attack by a person in custody upon the legality of that custody, and

that the traditional function of the writ is to secure release from illegal custody.”); Peyton v. Rowe,

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391 U.S. 54, 67 (1968) (Section 2241(c)(3) can afford immediate release for claims other than

those challenging the sentence itself). 100

           85.    While the Fifth Circuit has indicated that “conditions of confinement” claims may

not sound in Section 2241, habeas remains the proper remedy under these circumstances. See

Pierre v. United States, 525 F.2d 933, 935–36 (5th Cir. 1976) (rejecting habeas petitioners’ request

for an injunction pertaining to immigration work authorizations under § 2241, “habeas is not

available to review questions unrelated to the cause of detention. Its sole function is to grant relief

from unlawful imprisonment or custody and it cannot be used properly for any other purpose.”).

However, the Fifth Circuit has not addressed how Section 2241 would apply in the current context,

where the “condition” is a lightning-fast pandemic that has already infected at least 28 inmates

and guards at the Dallas County Jail. Because immediate release is the only medically and legally

sound remedy, rather than mere mitigation and/or further proceedings, traditional arguments
                                                                      104
against § 2241 as the proper vehicle are distinguishable.                   Cf. Skinner v. Switzer, 562 U.S. 521,

534 (2011) (preferring Section 1983 to Section 2241 where outcome of challenge is not inevitable)

(citing Heck v. Humphrey, 512 U.S. 477, 487 (1994)); see also Jones v. Cunningham, 371 U.S.

236, 243 (1963) (habeas “is not now and never has been a static, narrow, formalistic remedy”);

Eve Brensike Primus, A Structural Vision of Habeas Corpus, 98 CAL. L. REV. 1, 12-14 (an original




     100
          Section 2241, rather than § 2254, is the appropriate vehicle for state prisoners seeking COVID-based
discharge. Section 2254 is a set of rules about how convicted state prisoners challenge the lawfulness of the
proceedings producing their convictions and sentences. A state prisoner does not litigate under § 2254 simply because
that prisoner denominates a filing as a habeas challenge; the litigation falls under § 2241 if it contains challenges to
ongoing custody having nothing to do with whether the original conviction and sentence were lawfully imposed. As
the Tenth Circuit has noted, a “challenge to the validity of [petitioner’s] conviction and sentence” should “properly be
brought under § 2254” but “an attack on the execution of his sentence” should be “pursuant to § 2241.” Montez v.
McKinna, 208 F.3d 862, 865 (10th Cir. 2000) (holding that a state prisoner’s challenge to his interstate prison transfers
was properly considered under § 2241). The instant petition is an attack on the execution of the petitioners’ sentences.
It is a challenge to continued custody that is independent of the underlying conviction and sentence, which makes §
2241 the appropriate vehicle.

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purpose of habeas was to rectify systemic violations by state actors). Addressing the Sixth Circuit’s

prohibition against § 2241 challenges to “conditions,” one district court determined that challenges

to confinement itself in light of the COVID-19 pandemic are properly brought in § 2241 petitions:

         Petitioner does not take issue with the steps taken at the [detention facility] to
        mitigate the risk of detainees contracting COVID-19. Rather, she says that no
        matter what steps are taken, due to her serious health conditions, there is no
        communal holding facility where she could be incarcerated during the COVID-19
        pandemic that would be constitutional. Petitioner’s claim must therefore be
        considered as a challenge to the continued validity of confinement itself.
        Accordingly, Petitioner’s claim is properly brought under 28 U.S.C. § 2241, and
        the Court has jurisdiction.

Malam, No. 20-cv-10829 (E.D. Mich.) at Doc. No. 23 (Order granting motion for a temporary

restraining order).

        86.      Section 2241 contains no exhaustion requirement conceivably applicable to

prisoners seeking COVID-based discharge. 101 Plaintiffs are all therefore excused from 28 U.S.C.

§ 2241’s prudential exhaustion requirement. 102 It is well settled that “exhaustion is not required

when the state procedures do not afford swift vindication.” Galtieri v. Wainwright, 582 F.2d 348,

354 n. 12 (5th Cir.1978). Plaintiffs will not receive a sufficiently swift resolution of their

constitutional claims if forced to exhaust all available remedies via state writs of habeas. Such

remedies would take months under normal circumstances, and certainly will now take longer in

light of substantial court closures across the state in response to the COVID-19 emergency. 103 See




     101
         Section 2241 does have provisions that impose some exhaustion-like constraints on litigation by military
prisoners challenging their combatant status determinations. Those provisions are not relevant here.
     102
         To the extent that courts have imposed prudential exhaustion rules on § 2241 petitioners, those petitioners
have been seeking modifications to confinement conditions rather than discharge. The concerns that animate such
prudential restrictions—the existence of parallel statutes with exhaustion requirements—do not apply to those seeking
discharge
     103
         Texas Courts, Current and Upcoming Closures, https://cutt.ly/VtJBR8w (listing dozens of state court closures
due to the pandemic).


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Declaration of Alison Grinter (highlighting the extent, and unpredictability, of local state court

closures and noting that all local courts in Dallas “have slowed or suspended functions”). 104

        87.      Given the severity and spread of COVID-19, hours matter; Plaintiffs’ case is one

of the rare circumstances in which “it is proper for federal courts to treat claims technically

unexhausted.” Galtieri, 582 F.2d at 354.

                                VII.           CLAIMS FOR RELIEF
                                       FIRST CLAIM FOR RELIEF

Unconstitutional Conditions of Confinement in Violation of the Fourteenth Amendment to
                                 the U.S. Constitution
                           42 U.S.C. § 1983 / 28 U.S.C. § 2241
                      Pre-Adjudication Class versus All Defendants
        88.      Plaintiffs incorporate by reference each of the preceding paragraphs and allegations

as if fully set forth herein.

        89.      Under the Fourteenth Amendment, corrections officials are required to provide for

the reasonable health and safety of persons in pretrial custody. Youngberg v. Romeo, 457 U.S. 307,

315–16, 324 (1982) (the state has an “unquestioned duty to provide adequate . . . medical care” for

detained persons).

        90.      As part of the right, the government must provide incarcerated persons with

reasonable safety and address serious medical needs that arise in jail to at least the same degree of

persons in custody subsequent to a conviction. Deliberate indifference to the serious risk COVID-

19 poses to members of the Pre-Adjudication Class, and particularly members of the Medically-

Vulnerable Pre-Adjudication Subclass, violates this right.



      104
          See also Supreme Court of Texas, Court of Criminal Appeals of Texas, First Emergency Order Regarding
the COVID-19 State of Disaster, (March 13, 2020), https://cutt.ly/1tL4MOc (authorizing all courts in Texas to, inter
alia, “Modify and suspend any and all deadlines and procedures” until 30 days after the Governor’s state of disaster
related to COVID-19 is lifted); Jolie McCullough, Coronavirus Pauses Many Texas Court Proceedings. For Some,
that Means More Time in Jail, Texas Tribune (March 19, 2020, 11:00 a.m.), https://cutt.ly/StL4HEE.

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        91.     The Dallas County Jail has refused to comply with public health guidelines to

manage an outbreak of COVID-19 and has not provided for the safety of the Pre-Adjudication

Class. Defendants’ actions and inactions result in the confinement of members of the Pre-

Adjudication Class in a jail where they do not test for, treat, or prevent COVID-19 outbreaks,

which violates Plaintiffs’ rights to treatment and adequate medical care.

        92.     Accordingly, Defendants, as supervisors, direct participants, and policy makers for

Dallas County and the Dallas County Jail have violated the rights of the Pre-Adjudication Plaintiff

Class under the Fourteenth Amendment.

                                SECOND CLAIM FOR RELIEF

    Unconstitutional Punishment in Violation of the Fourteenth Amendment to the U.S.
                                      Constitution
                           42 U.S.C. § 1983 / 28 U.S.C. § 2241
                       Pre-Adjudication Class versus All Defendants

        93.     Plaintiffs incorporate by reference each of the preceding paragraphs and allegations

as if fully set forth herein.

        94.     Under the Fourteenth Amendment, persons in pretrial custody have greater due

process protections than those convicted and therefore cannot be punished as part of their

detention. Bell, 441 U.S. at 535 n.16. Punishment is established if the jailer’s conduct is either not

rationally related to a legitimate, nonpunitive government purpose or excessive in relation to that

purpose.

        95.     Even assuming that the Dallas County Jail’s spacing and provision of medical

services inside the facility normally serves the legitimate, nonpunitive purpose of health and safety

of detained persons, the Dallas County Jail has failed to comply with public health guidelines to

manage an outbreak of COVID-19. Therefore, continuing to detain Pre-Adjudication Class




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members without making the Dallas County Jail compliant with COVID-19-specific guidance

from public health experts is not rationally related to, and excessive in relation to, that purpose.

        96.     Accordingly, Defendants, as supervisors, direct participants, and policy makers for

Dallas County and the Dallas County Jail have violated the rights of the Pre-Adjudication Plaintiff

Class under the Fourteenth Amendment.

                             THIRD CLAIM FOR RELIEF
 Unconstitutional Conditions of Confinement in Violation of the Eighth Amendment to the
                                    U.S. Constitution
                           42 U.S.C. § 1983 / 28 U.S.C. § 2241
                      Post-Adjudication Class versus All Defendants
        97.     Plaintiffs incorporate by reference each of the preceding paragraphs and allegations

as if fully set forth herein.

        98.     Under the Eighth Amendment, persons in carceral custody have a right to be free

from cruel and unusual punishment. As part of the right, the government must provide incarcerated

persons with reasonable safety and address serious medical needs that arise in jail. See, e.g.,

Helling, 509 U.S. at 33; Estelle, 429 U.S. at 104; DeShaney, 489 U.S. at 200. Deliberate

indifference to the serious risk COVID-19 poses to members of the Post-Adjudication Class, and

particularly members of the Medically-Vulnerable Post-Adjudication Subclass, infringes on the

protection from cruel and unusual punishment. Defendants violate this right by subjecting

members of the Post-Adjudication Class to conditions of confinement that do not ensure their

safety and health.

        99.     The Jail has failed to comply with public health guidelines to manage an outbreak

of COVID-19 and cannot provide for the safety of the Post-Adjudication Class.

        100.    Defendants’ actions and inactions result in the confinement of members of the Post-

Adjudication Class in a jail where they do not have the capacity to test for, treat, or prevent

COVID-19 outbreaks, which violates Plaintiffs’ rights to treatment and adequate medical care.

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        101.    By operating the Jail without the capacity to test for, treat, or prevent a COVID-19

outbreak, Defendants, as supervisors, direct participants, and policy makers for Dallas County and

the Dallas County Jail have violated the rights of the Post-Adjudication Plaintiff Class under the

Eighth Amendment.

                            VIII.        REQUEST FOR RELIEF

        102.    Plaintiffs incorporate by reference each of the preceding paragraphs and allegations

as if fully set forth herein.

        103.    The outbreak of COVID-19 in the Dallas County Jail is creating a public health

crisis for detainees and employees as well as the community at large. To prevent unnecessary

disease, suffering, and deaths, Plaintiffs and Class Members respectfully request that the Court

order the following relief:

        1.      Certification of this action as a Class Action;

        2.      A temporary restraining order, preliminary injunction, permanent injunction,
                and/or writ of habeas corpus requiring Defendants to identify all Medically-
                Vulnerable Subclass Members in both the Pre-Adjudication and Post-Adjudication
                Classes within six (6) hours of the Court’s order and release—within twenty-four
                (24) hours of submission of the list—all such persons absent proof of judicially-
                recorded findings by clear and convincing evidence that the individual poses such
                a serious risk of flight or danger to others that no other conditions can mitigate;

        3.      A temporary restraining order, preliminary injunction, permanent injunction,
                and/or writ of habeas corpus requiring Defendants to provide all persons released
                with educational resources on COVID-19 including instructions that they should
                self-isolate for the CDC-recommended period of time (currently 14 days) following
                release;

        4.      Following immediate release of all Medically-Vulnerable Subclass Members, a
                plan, to be submitted to the Court in three (3) days and overseen by a qualified
                public health expert agreed upon by the parties or ordered by the Court pursuant to
                Fed. R. Evid. 706, which outlines:

                a.       Specific mitigation efforts, in line with CDC guidelines, to prevent, to the
                         degree possible, contraction of COVID-19 by all Class Members not
                         immediately released;


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         b.     A housing and/or public support plan for any released Class or Subclass
                Members whose testing confirms have been exposed to or infected with
                COVID-19 and who do not readily have a place to self-isolate for the CDC-
                recommended period of time (currently 14 days).

         c.     An evaluation of whether the release of the Subclass Members permits
                adequate social distancing and whether other categories of prisoners must
                be released to provide for compliance with CDC guidelines.

   5.    A preliminary injunction, permanent injunction, and/or writ of habeas corpus
         requiring Defendants to:

         a.     Continue to release all current and future Medically-Vulnerable subclass
                members absent proof of judicially-recorded findings by clear and
                convincing evidence that the individual poses such a serious risk of flight
                or danger to others that no other conditions can mitigate;

         b.     Report weekly on the population of persons in the Dallas County Jail who
                are Medically-Vulnerable as defined in this action;

         c.     Follow the terms of the public health expert plan submitted pursuant to Fed.
                R. Evid. 706;

         d.     Release additional Class Members, including those not considered
                “Medically-Vulnerable,” as needed to ensure that all remaining persons
                incarcerated in the Dallas County Jail are under conditions consistent with
                CDC and public health guidance to prevent the spread of COVID-19,
                including requiring that all persons be able to maintain six feet or more of
                space between them.

   6.    If immediate release is not granted on the basis of this Complaint alone, then
         expedited review of the Complaint, including oral argument, via telephonic or
         videoconference if necessary;

   7.    A declaration that jail’s policies violate the Fourteenth Amendment rights to
         reasonable safety and to be free from punishment prior to conviction with respect
         to the Pre-Adjudication Class;

   8.    A declaration that Dallas County Jail’s policies violate the Eighth Amendment right
         against cruel and unusual punishment with respect to the Post-Adjudication Class;

   9.    An award of Plaintiffs’ attorney fees and costs under 42 U.S.C. § 1988 and other
         applicable law; and

   10.   Any further relief to which Plaintiffs are entitled.




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Dated: April 9, 2020.

Respectfully submitted,

 _____________________       _____________________              /s/ Barry Barnett
                                                              _____________________
 AMERICAN CIVIL              ACLU FOUNDATION OF TEXAS         SUSMAN GODFREY L.L.P.
 LIBERTIES FOUNDATION        Brian Klosterboer                Barry Barnett
 Andrea Woods*               Texas. Bar No. 24107833          Texas Bar No. 01778700
 N.Y. Bar No. 5595509        Adriana Piñon**                  8115 Preston Road, Suite 575
 Meredith Taylor Brown*      Texas Bar No. 24089768           Dallas, TX 75225
 N.Y. Bar No. 5678602        Andre Segura                     (866) 754-1900
 Brandon Buskey*             Texas Bar No. 24107112           bbarnett@susmangodfrey.com
 125 Broad Street, 18th      5225 Katy Fwy., Suite 350
 Floor                       Houston, TX 77007                Michael Gervais*
 New York, NY 10004          Tel: (713) 942-8146              N.Y. Bar No. 5122890
 (212) 549-2528              Fax: (346) 998-1577              1900 Avenue of the Stars,
 awoods@aclu.org                                              Suite 1400
                             _____________________            Los Angeles, CA 90067
 Henderson Hill*             CIVIL RIGHTS CORPS               (310) 789-3100
 N.C. Bar No. 18563          Katherine Hubbard*               mgervais@susmangodfrey.com
 201 W. Main St. Suite 402   D.C. Bar No. 1500503
 Durham, NC 27701            Elizabeth Rossi*                 _____________________
 (919) 682-9563              D.C. Bar No. 1500502             NEXT GENERATION ACTION
 hhill@aclu.org              1601 Connecticut Ave NW,         NETWORK LEGAL ADVOCACY
                             Suite 800                        FUND
 Amy Fettig*                 Washington, D.C. 20009           Alison Grinter-Allen
 D.C. Bar No. 484883         (202) 894-6126                   Texas Bar 24043476
 915 15th Street N.W.,       katherine@civilrightscorps.org   Kim T. Cole
 7th Floor                   elizabeth@civilrightscorps.org   Texas Bar No. 24071024
 Washington, D.C. 20005                                       1808 South Good Latimer
 (202) 548-6608                                               Expressway
 afettig@aclu.org                                             Dallas, TX 75226
                                                               (214) 704-6400
                                                              agrinter@thengan.com
                                                              kcole@thengan.com




 ATTORNEYS FOR PETITIONERS/PLAINTIFFS
 *pro hac vice application forthcoming
 **N.D. Texas admission application forthcoming




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